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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE LU EFILED
UNITED STATES OF AMERICA ) nm JUL 29 P12: 22
Vv. Crim. No. 2 2: 18-cr- 178-DBH-001___ i
SHOU CHAO LI oo

AGREEMENT TO PLEAD GUILTY
(WITH STIPULATIONS AND APPEAL WAIVER)

The United States of America, by and through Donald E. Clark, Acting United States
Attorney for the District of Maine, and Darcie N. McElwee, Assistant United States Attorney,
and Shou Chao Li (hereinafter "Defendant"), acting for himself and through his counsel, Mingli
Chen, Esquire, enter into the following Agreement based upon the promises and understandings
set forth below.

1. Guilty Plea/Dismissal of Counts. Defendant agrees to plead guilty to Counts One,
Five through Seven, and Nine of the Indictment herein. Count One charges conspiracy, in
violation of 18 U.S.C. §§ 371, 2421, 2422(a) & 1952(a)(3), (b)(1). Counts Five through Seven,
and Nine charge transportation for purposes of prostitution, in violation of 18 U.S.C. §§ 2421 (a)
and 2. The United States agrees that it will move to dismiss counts Two, Three, Four, and Eight
of the Indictment pursuant to Rule 11(c)(1)(1)(A) at the time of sentencing. The parties agree and
understand that if the court should deny that motion to dismiss, the provisions of Rule 11(c)(5)
will apply.

2. Sentencing/Penalties. Defendant agrees to be sentenced on the charges described

above. Defendant understands that the penalties that are applicable to the charges described

above are as follows:
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A maximum prison term of five (5) years on Counts One, and not more
than ten (10) years on Counts Five through Seven, and Nine;

A maximum fine of $250,000 on each of Counts One, Five through
Seven, and Nine;

A mandatory special assessment of $100.00 for each of Counts One, Five
through Seven, and Nine, which Defendant agrees to pay at or before the
time that he enters guilty pleas; and

A term of supervised release of not more than three years. Defendant
understands that his failure to comply with any of the conditions of
supervised release may result in revocation of supervised release,
requiring Defendant to serve up to two additional years in prison for any
such revocation of supervised release pursuant to 18 U.S.C. § 3583.

In addition to the other penalties provided by law, the Court must also order Defendant to pay

restitution to the victim or victims of the offense, pursuant to 18 U.S.C. § 3663 or § 3663A.

3. Agreements Regarding Sentencing. The parties agree to make the following non-

binding recommendations as to sentencing:

A.

The base offense level for each count of conviction is 14 pursuant to
U.S.S.G. § 2G1.1(a}(2);

An enhancement of four levels is applicable because the offense involved
fraud and coercion pursuant to § 2G1.1(b)(1)(B);

Regarding Count One only, (5) levels are added pursuant to § 2G1.1(d)(1)
and § 3D1.4 (multiple count adjustment) because the offense involved
more than 5 victims;

The parties agree to recommend that the Court find that Defendant has
accepted responsibility for the offenses of conviction, and that the Court
should reduce the Defendant’s Adjusted Offense Level by three levels
under U.S.S.G. § 3E].1. The Government reserves the right not to
recommend a reduction under U.S.S.G. § 3E1.1 if, at any time between his
execution of this Agreement and sentencing, the Defendant: (a) fails to
admit a complete factual basis for the plea; (b) fails to truthfully admit his
conduct in the offense of conviction; (c) engages in conduct which results
in an adjustment under U.S.S.G. § 3C 1.1; (d) falsely denies or frivolously
contests relevant conduct for which the Defendant is accountable under
U.S.S.G. § 1B1.3 or previous convictions that the defendant has sustained;
or (e) engages in new criminal conduct.Defendant understands that he

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may not withdraw the guilty plea if, for any of the reasons listed above,
the Government does not recommend that he receive a reduction in
Offense Level for acceptance of responsibility.
The parties expressly agree and understand that should the Court reject either or both of the
recommendations of the parties, Defendant will not thereby be permitted to withdraw his plea of
guilty. The parties agree and understand that the Court has the discretion to impose any lawful
sentence,
4, Appeal Waivers. Defendant is aware that Title 18, United States Code, Section
3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant

waives the right to appeal the following:

A, Defendant’s guilty plea and any other aspect of Defendant's conviction in
the above-captioned case; and

B. A sentence of imprisonment that does not exceed 51 months.
Defendant's waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review.

The number of months mentioned in this paragraph does not necessarily constitute an
estimate of the sentence that the parties expect will be imposed.

5. Consequences of Breach. If Defendant violates or fails to perform any
obligations under this Agreement (“a breach”), the United States will be released from its
obligations hereunder and may fully prosecute Defendant on all criminal charges that can be
brought against Defendant. With respect to such a prosecution:

A, The United States may use any statement that Defendant made pursuant to
this Agreement, including statements made during plea discussions and
plea colloquies, and the fact that Defendant pleaded guilty, and Defendant

hereby waives any claim under Rule 410 of the Federal Rules of Evidence
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or Rule 11(f) of the Federal Rules of Criminal Procedure that such
Statements and guilty plea are inadmissible.

B. Defendant waives any and all defenses based on the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

6. Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the
execution of this Agreement and continuing thereafter through and including the date upon
which sentence is imposed. In the event that the Court determines that Defendant has breached
this Agreement, as set forth in Paragraph 5 of this Agreement, then the waiver described in this
Paragraph shall continue through and including the date on which the Court determines that such
a breach has occurred. Defendant expressly consents to the entry of an Order by the Court
excluding such periods of time from such consideration.

7. Forfeiture. Defendant agrees to waive any claim to, and assist the United States
in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the
United States under any law of the United States, including, but not limited to, the following
assets: $2,000 in U.S. currency.

8. Immigration Status. Defendant recognizes that pleading guilty may have
consequences with respect to his immigration status if he is not a citizen of the United States.
The parties agree and understand that the offense(s) to which Defendant is pleading guilty may

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result in Defendant being removed from the United States. Removal and other immigration
consequences are the subject of a separate proceeding, however, and Defendant understands that
no one, including his attorney or the district court, can predict to a certainty the effect of his
conviction on his immigration status. Defendant nevertheless affirms that he wants to plead
guilty regardless of any immigration consequences that his plea may entail, even if the
consequence is his automatic removal from the United States.

9. Validity of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Office and Defendant. However, in the
event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea
entered hereunder, and the Court determines that Defendant has not breached this Agreement,
then any proffer agreement between the parties shall remain in effect. No additional
understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary
acceptance of this Agreement.

I have read this Agreement and have carefully reviewed every part of it. I understand it
and I have voluntarily agreed to it.

Date: O+, a dod . Le —_——

Shou Chao Li, Defendant

[ am legal counsel for Shou Chao Li. I have carefully reviewed every part of this
Agreement with Shou Chao Li, To my knowledge, Shou Chao Li’s decision to enter into this
Agreement is an informed and voluntary one.

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Mingli Chen, Esquire

Attorney for Defendant

 

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FOR THE UNITED STATES: Donald E. Clark
Acting United States Attorney

Date: 4 [ grzs Dave dl.

Darcie N. McElwee

ah) MM Assistant U.S. Attorney
Approved: Tf ve

—_f Assistant U& Attomey
